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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: May 04, 2005


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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

 In re:
 HUFFY CORPORATION,                                    )        Chapter 11
 an Ohio corporation, et al.1                          )        Honorable Lawrence S. Walter
              Debtors.                                 )
                                                       )        Case Nos. 04-39148 through 04-39167
                                                       )        Jointly Administered
                                                       )        (04-39148)


                  ORDER GRANTING DEBTORS' MOTION PURSUANT TO
     11 U.S.C. § 1121(d) FURTHER EXTENDING THE DEBTORS' EXCLUSIVE PERIODS
      IN WHICH TO FILE A CHAPTER 11 PLAN AND TO SOLICIT VOTES THEREON

           This matter having come before this Court on the Debtors' Motion for the entry of an

 Order Pursuant to 11 U.S.C. § 1121(d) Further Extending the Debtors' Exclusive Periods in

 Which to File a Chapter 11 Plan and to Solicit Votes Thereon for an additional 90 days (the

 “Motion”), and the Court finds that (i) it has jurisdiction over the matters raised in the Motion

 pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. §

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     The Debtors are the following entities: Huffy Corporation, Huffy Risk Management, Inc., HUFCO-Ohio, Inc.,
     HCAC, Inc., Hufco-Delaware Company, Huffy Sports, Inc., American Sports Design Company, Huffy Sports
     Washington, Inc., Huffy Sports Outlet, Inc., Huffy Sports Canada, Inc., Lehigh Avenue Property Holdings, Inc.,
     Tommy Armour Golf Company, Lamar Snowboards, Inc., Huffy Sports Delaware, Inc., First Team Sports, Inc.,
     Hespeler Hockey Holding, Inc., HUFCO-Georgia I, Inc., HUFCO-Georgia II, Inc., HUFCO-New Brunswick,
     Inc., and HUF Canada, Inc.
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 157(b)(2); (iii) the relief requested in the Motion is in the best interests of the Debtors, their

 estates and creditors; (iv) proper and adequate notice of the Motion and the hearing thereon has

 been given and that no other or further notice is necessary, (v) capatilized terms not otherwise

 defined herein shall have the meaning ascribed to them in the Motion; and (vi) upon the record

 herein, including the statements made by counsel at the hearing in the Motion, after due

 deliberation thereon, good and sufficient cause exists for the granting of the relief as set forth

 herein, it is therefore hereby

         ORDERED, ADJUDGED AND DECREED THAT:

         1.      The Motion is GRANTED as modified herein.

         2.      Objection to the Motion, if any, not previously withdrawn shall be and hereby are,

 OVERRULED.

         3.     The Debtors' Exclusive Filing Period is extended from May 4, 2005 through and

 including July 12, 2005.

         4.      The Debtors' Exclusive Solicitation Period is extended from July 3, 2005 through

 and including September 10, 2005.

         5.      This Order is without prejudice to the Debtors' right to seek additional extensions

 of the Exclusive Filing Period and Exclusive Solicitation Period, upon notice and a hearing.

         6.      This Order is effective immediately upon entry.

         IT IS SO ORDERED.
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